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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________

     UNOPPOSED MOTION FOR EXTENSION OF TIME, UNTIL MAY 21, 2019, FOR
                DEFENDANT TO FILE REPLY MEMORANDA

       Counsel for the Defendant request a brief extension, until May 21, 2019, for filing a

Reply to the Government's Opposition to Defendant's Motion to Dismiss Pursuant to Federal

Rule of Criminal Procedure 12(b)(3)(B) (Dkt. #93); Reply to Government's Opposition to

Defendant's Motion to Compel (Dkt. #94); Reply to Government's Opposition to Defendant's

Motion for Discovery on Claim of Selective Prosecution (Dkt. #95); and Reply to Government's

Corrected Response in Opposition to Motion to Dismiss (Dkt. #99). Said replies are currently

due May 17, 2019.

       The extension is requested due to unexpected time conflicts, both professional and

personal, for members of the defense team, but will not affect the hearing currently scheduled for

May 30. Counsel for the Government has been contacted and do not oppose the relief requested.
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                                       Respectfully submitted,

                                       By: /s/_______________


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 16, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                              BUSCHEL GIBBONS, P.A.

                                              ___/s/ Robert Buschel_______________
                                                     Robert C. Buschel

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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                                           ORDER

        Before the Court is Roger J. Stone’s Motion For Extension of Time to file Replies due

May 17, 2019. The Court, having considered the Defendant’s motion and representation that the

Government does not oppose the extension and otherwise being fully advised, it is

        ORDERED AND ADJUGED that the Defendant may have until and including May 21,

2019 to file his Replies. The hearing scheduled for May 30, 2019 remains on the court schedule.

        DONE AND ORDERED in Washington, DC, this _____ day of _____, 2019.


                                                         _______________________________
                                                         AMY BERMAN JACKSON
                                                         United States District Judge

DATE:

cc:     all counsel of record
